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           B1040 (FORM 1040) (12/15)

                    ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                                         (Court Use Only)
                            (Instructions on Reverse)

       PLAINTIFFS                                                                         DEFENDANTS
       Deborah K. Ebner, Trustee                                                          Catherine A. Corrigan


       ATTORNEYS (Firm Name, Address, and Telephone No.)                                  ATTORNEYS (If Known)
       Ariane Holtschlag
       105 W. Madison Suite 1500; Chicago, IL 60602
       312-878-4830
       PARTY (Check One Box Only)                         PARTY (Check One Box Only)
       Ƒ 'HEWRU    Ƒ 86 Trustee/Bankruptcy Admin        Ƒ Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
       Ƒ &UHGLWRU  Ƒ 2WKHU                                Ƒ Creditor    Ƒ Other
       Ƒ 7UXVWHH                                          Ƒ Trustee
       CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

       Avoidance and Recovery of Transfers 11 U.S.C 544, 550 and 740 ILCS 160/5 and 6



                                                                             NATURE OF SUIT
                   (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

               FRBP 7001(1) – Recovery of Money/Property                                  FRBP 7001(6) – Dischargeability (continued)
       Ƒ 11-Recovery of money/property - §542 turnover of property                        Ƒ  61-Dischargeability - §523(a)(5), domestic support
       Ƒ 12-Recovery of money/property - §547 preference                                  Ƒ  68-Dischargeability - §523(a)(6), willful and malicious injury
       Ƒ 13-Recovery of money/property - §548 fraudulent transfer                         Ƒ  63-Dischargeability - §523(a)(8), student loan
       Ƒ 14-Recovery of money/property - other
           ■
                                                                                          Ƒ  64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                                (other than domestic support)
               FRBP 7001(2) – Validity, Priority or Extent of Lien
       Ƒ 21-Validity, priority or extent of lien or other interest in property            Ƒ  65-Dischargeability - other

                                                                                          FRBP 7001(7) – Injunctive Relief

       Ƒ
               FRBP 7001(3) – Approval of Sale of Property                                Ƒ 71-Injunctive relief – imposition of stay
               31-Approval of sale of property of estate and of a co-owner - §363(h)      Ƒ 72-Injunctive relief – other
               FRBP 7001(4) – Objection/Revocation of Discharge
       Ƒ 41-Objection / revocation of discharge - §727(c),(d),(e)                         FRBP 7001(8) Subordination of Claim or Interest
                                                                                          Ƒ 81-Subordination of claim or interest
               FRBP 7001(5) – Revocation of Confirmation
       Ƒ 51-Revocation of confirmation                                                    FRBP 7001(9) Declaratory Judgment
                                                                                          Ƒ 91-Declaratory judgment
               FRBP 7001(6) – Dischargeability
       Ƒ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                                     Ƒ
       Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause

             actual fraud                                                            Other
       Ƒ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                          (continued next column)                                    Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                                  if unrelated to bankruptcy case)
       Ƒ Check if this case involves a substantive issue of state law                     Ƒ Check if this is asserted to be a class action under FRCP 23
       Ƒ &KHFNLIDMXU\trial is demanded in complaint                                   Demand $ 122,765.57
       Other Relief Sought
  B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
William Edward Corrigan                                               20-09613
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
Northern District of Illinois                                         Eastern                            Doyle
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                       DEFENDANT                                                ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)
/s/ Ariane Holtschlag




DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
2/1/21                                                                Ariane Holtschlag




                                                          INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.
                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


In re:                                  Chapter 7

William Edward Corrigan,                Bankruptcy No. 20-09613

                        Debtor.         Honorable Carol A. Doyle

Deborah K. Ebner, Trustee,

                        Plaintiff,

v.                                      Adversary No.

Catherine A. Corrigan,

                        Defendant.


                         COMPLAINT TO AVOID
                 FRAUDULENT TRANSFER AND RELATED RELIEF

       Deborah K. Ebner, not individually but as the chapter 7 trustee (the
“Trustee” or “Plaintiff”) of the bankruptcy estate (the “Estate”) of
William Edward Corrigan (the “Debtor”), brings this Complaint against
Catherine A. Corrigan (“Catherine”) and states as follows:

       Catherine is the Debtor’s non-filing spouse. While the Debtor’s
businesses were failing and he was subject to extensive claims, the Debtor
and Catherine sold their home. After paying off the liens on the property,
sale proceeds were approximately $244,000. The Debtor and Catherine
were each entitled to one-half of those proceeds. Instead, the Debtor caused
Catherine to receive his half of the proceeds.

       For the benefit of the Debtor’s approximately $2.3 million in
scheduled creditors, the Trustee seeks to avoid and recover the proceeds
transferred to Catherine.



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                             JURISDICTION AND VENUE

       1.      This adversary proceeding arises in the Debtor’s Chapter 7
bankruptcy case, pending before this Court as case number 20-09613 (the
“Case”).
       2.      Pursuant to 28 U.S.C. § 1334(b), this Court has subject matter
jurisdiction over this proceeding, which is referred here pursuant to 28
U.S.C. §157(a) and Local Rule 40.3.1(a) of the United States District Court
for the Northern District of Illinois.
       3.      This is a core proceeding under 28 U.S.C. §157(b)(2)(H), and this
Court has constitutional authority to enter final judgments and orders
thereon.

       4.      In the event that it is determined that any portion of this
proceeding is not a core proceeding or that a bankruptcy judge does not
have constitutional authority to enter final judgments in this proceeding,
consent is given, pursuant to 28 U.S.C. § 157(c)(2), to a bankruptcy judge
hearing and finally determining the proceeding and entering appropriate
orders and judgments.
       5.      This Court is the proper venue for this adversary proceeding
pursuant to 28 U.S.C. § 1409.

                        FACTS COMMON TO ALL COUNTS

I.     The Debtor, his debts, and the Parties.
       6.      On April 21, 2020 (the “Petition Date”), the Debtor filed a
voluntary petition for relief under Chapter 7 of title 11, United States Code
(11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”)), in the United States
Bankruptcy Court for the Northern District of Illinois, Eastern Division
commencing the Case.
       7.      Upon the commencement of the case, the Debtor scheduled
ownership interests in five businesses, one of which was a pass-through for




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the Debtor’s current business as a real estate agent. The other four had
been dissolved between 2010 and 2014:

                   a. The Debtor owned 33% of PVBS, Inc., d/b/a Corrigan’s
                      Pub, which was involuntarily dissolved on December 10,
                      2010;
                   b. The Debtor owned 50% of CCS Real Estate Corporation,
                      which was involuntarily dissolved on April 12, 2013;

                   c. The Debtor owned 50% of Metro Rehab Services, Inc.,
                      which was involuntarily dissolved on November 8, 2013;
                      and
                   d. The Debtor owned 33% of CKS, Inc., d/b/a Medical
                      Applications, which was involuntarily dissolved on
                      February 10, 2014;
       8.      The greatest measure of the Debtor’s debts were scheduled as
“business debt” or as “personal guarantees” for a business:
                   a. No less than $880,607.50 was scheduled as debt related
                      to or guaranteed for Metro Rehab Services, Inc.

                   b. Even ignoring certain claims listed as “unknown,” no less
                      than $643,050 was scheduled as debt related to or
                      guaranteed for PVBS, Inc., d/b/a Corrigan’s Pub.
       9.      Relatedly, prior to the bankruptcy filing, the Debtor had at least
one substantial judgment against him – held by Invacare, against the
Debtor, another obligor, and Metro Rehab Services, in case 11-L-008781 in
the Circuit Court of Cook County, in the judgment amount of $241,720.37,
which was entered on November 6, 2012.

       10.     Additionally, the Debtor’s Social Security benefits had been
getting set off since at least 2013, due to his having defaulted on a Small
Business Administration loan.




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       11.     At all times relevant to the allegations herein, there existed at
least one creditor of the Debtor with standing to avoid the Transfer under
state law.
       12.     Plaintiff is the duly appointed chapter 7 trustee of the Estate.

       13.     Catherine is the Debtor’s non-filing spouse.

II.    The Property and the Sale Thereof.
       14.     On or about May 16, 2000, the Debtor and Catherine purchased
real estate commonly known as 505 North Lake Shore Drive, Units 1211
and 1212, in Chicago, Illinois, 60611, as well as parking spot D-82 in that
building (collectively, the “Property”).
       15.     On or about February 10, 2010, the Debtor and Catherine
granted a deed in trust to Marquette Bank, Trustee, as trustee under a
trust agreement dated the 25th day of January, 2010 and known as Trust
Number 19116 (“Marquette”).
       16.     Thereafter, the Debtor and Catherine continued to reside in and
use the Property.

       17.     The Debtor and Catherine each retained a one-half interest in
the earnings, avails, and disposition of proceeds from sale or other transfer
of the Property.
       18.     The Debtor and Catherine caused the property to be listed for
sale, and on January 18, 2018, the Debtor and Catherine sold the Property
to the Dilly Bear Living Trust for $685,000.00 (the “Sale”). The Debtor and
Catherine executed the closing documents on behalf of the Trust.
       19.     The net due to the Debtor and Catherine from the Sale was
$245,531.14 (the “Net Proceeds”).

       20.     The Debtor was entitled to receive one half of the Net Proceeds,
that is, $122,765.57.
       21.     The full value of the Net Proceeds, $245,531.14, was paid to
Catherine.


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       22.     The Net Proceeds were delivered to Catherine in the form of a
check, specifically check number 570958 drawn on the escrow account of
Old Republic Title, dated January 18, 2018 in the amount of $245,531.14
(the “Check”); a copy of this instrument is attached hereto as Exhibit A
and incorporated herein by reference.

       23.     Catherine’s receipt of the Debtor’s half of the Net Proceeds (“the
Transfer”) occurred at the Debtor’s direction and with the Debtor’s
consent.
       24.     On or about January 25, 2018, Catherine negotiated the Check,
depositing the Check in to account number XXX-X8357 at Merrill Lynch.

       25.     Catherine is the sole owner of account number XXX-X8357 at
Merrill Lynch.

   COUNT I - AVOIDANCE OF TRANSFER (§ 544 AND IFTA § 5(a)(1))
       26.     The Trustee incorporates each of the other allegations of this
Complaint as though fully set forth herein.
       27.     Section 5 of the Illinois Uniform Fraudulent Transfer Act (the
“IFTA”), provides that “[a] transfer made … by a debtor is fraudulent as to
a creditor, whether the creditor’s claim arose before or after the transfer
was made …, if the debtor made the transfer … with actual intent to
hinder, delay, or defraud any creditor of the debtor ….” 740 ILCS
160/5(a)(1).
       28.     The Debtor had a one-half ownership interest in the Property
and was entitled to one-half of the Net Proceeds from its sale.
       29.     The Transfer occurred within four (4) years of the Petition Date.

       30.     The Debtor made the Transfer with actual intent to hinder,
delay or defraud existing and/or future creditors.

       31.     The Debtor received nothing of value in exchange for the
Transfer.




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       32.     The Debtor made the Transfer for the benefit of Catherine, an
insider.

       33.     At the time of the Transfer, the Debtor was insolvent.

       34.     At the time of the Transfer, the Debtor was not paying his debts
as they became due.
         WHEREFORE, the Trustee respectfully requests a judgment in
her favor and against Catherine A. Corrigan avoiding the Transfer and
granting any additional relief that is appropriate under the circumstances.

      COUNT II - AVOIDANCE OF TRANSFER (§ 544 and IFTA § (6)(a))
       35.     The Trustee incorporates each of the other allegations of this
Complaint as though fully set forth herein, except that any allegations
inconsistent with the relief requested in this Count are not included.
       36.     This Count is plead in the alternative to the extent the relief or
the allegations contradict anything else contained in this Complaint.
       37.     Section 6 of the IFTA provides that a transfer made or obligation
incurred by a debtor is fraudulent as to a creditor whose claim arose before
the transfer was made or the obligation was incurred if the debtor made
the transfer or incurred the obligation without receiving a reasonably
equivalent value in exchange for the transfer or obligation and the debtor
was insolvent at that time or the debtor became insolvent as a result of the
transfer or obligation. 740 ILCS 160/6.
       38.     The Transfer occurred within four (4) years of the Petition Date.

       39.     The Debtor received nothing in exchange for the Transfer.

       40.     The Debtor did not receive reasonably equivalent value in
exchange for making the Transfer.

       41.     When the Debtor made the Transfer, he was insolvent, or he
became insolvent as a result of the Transfer.




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       42.     At the time of the Transfer, the Debtor was not paying his debts
as they came due.

       43.     When the Debtor made the Transfer, he was engaged in a
business or transaction for which its remaining assets were unreasonably
small and it intended to incur and reasonably believed it would incur debts
beyond his ability to pay as they became due.

         WHEREFORE, the Trustee respectfully requests a judgment in
her favor and against Catherine A. Corrigan avoiding the transfer and
granting any additional relief that is appropriate under the circumstances.

                COUNT III – RECOVERY OF AVOIDED TRANSFER
                               11 U.S.C. § 550
       44.     The Trustee incorporates all other allegations of the Complaint
as though fully set forth herein, except that any allegations inconsistent
with the relief requested in this Count are not included.
       45.     Section 550 of the Bankruptcy Code provides that “to the extent
that a transfer is avoided under section 544 … 547, [or] 548 … the trustee
may recover, for the benefit of the estate, the property transferred, or, if the
court so orders, the value of such property from … the initial transferee of
such transfer or the entity for whose benefit such transfer was made.” 11
U.S.C. § 550(a).
       46.     Catherine was the initial transferee of the Transfer.
       47.     Catherine benefitted from the Transfer by retaining the full Net
Proceeds as her sole and separate property.
       48.     The Transfer is avoidable under Section 544 of the Bankruptcy
Code as set forth above.

       49.     The Trustee is entitled to recover the property transferred or the
value of the avoided Transfer for the benefit of the Estate.
               WHEREFORE, the Trustee respectfully requests a judgment
in her favor and against Catherine A. Corrigan in the amount of



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$122,765.57, plus pre-judgment interest from the date of the transfer and
post-judgment interest and costs and granting any additional relief that is
appropriate under the circumstances.


Dated: February 1, 2021                 Deborah K. Ebner, not
                                        individually but solely as the
                                        chapter 7 trustee of the
                                        bankruptcy estate of William
                                        Edward Corrigan

                                        By: /s/ Ariane Holtschlag
                                        One of her attorneys

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